                 CASE 0:12-cr-00295-PAM-AJB Doc. 1 Filed 12/03/12 Page 1 of 4



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA

     UNITED STATES OF A]vIER]CA,                         rNDrcrMENr g@   t^   -Lq}       &+ nt    rcg
                              Plaintiff,                 18 U.S.C. S 2)
                                                         1_8 U.S.C. S 19s1)
                         1t                              1-8 u. s. c. S e22 (g) (r) )
                                                         18 u.s.c. S e24 (a) (2))
      /1\   ERIC WADE FORCIER,                           18 U.s.c. S e24 (c) (r) (A) )
                                                         18 u.s.c. s e24 (d) (1))
      (2) JULTE ANN CAMPANA,                             28 U.s.c. S 2461-(c))

                              Defendants.


            THE UNTTED STATES GRAND ,JURY CHARGES THAT:

                                            coIINr   L
                         (Interference with     Commerce   by Robbery)
            1.
             At all t.imes material to this Indictment the Americas
    Best Value Inn and Suites, locat,ed at 1-420 Rlverview Drive,
    Northfield, Minnesota, was operating as a hotel, providing lodging
    for a significant number of customers traveling to Minnesota from
    out of state and receiving goods and services including food,
    t.oiletry items, cleaning and repair supplies, cable television and
    internet service, and market.ing assistance from out of state
    providers, and was a business engaged in and affecting interstat.e
    commerce.

            2.   or about, October 29, 20]-2, in the State and District
                    On
    of Minnesota, the defendants,
                                     ERIC WADE FORCIER, and
                                       'JULIE AT{N CAMPAI{A,
    each aidlng and abett.ing the ot,her, did, unlawfully and knowingly


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         CASE 0:12-cr-00295-PAM-AJB Doc. 1 Filed 12/03/12 Page 2 of 4



United StaLes v. Eric   Wade   Forcier. et al.
obst.ruct., delay and affect, and at,tempt t,o obstruct., delay and
affect   commerce, as    that term is defined j-n Title l-8, United States
Code, Section 1951, and the movement of art.icles and commodities j-n
such commerce, by robbery, ds that Lerm is defined in Title 18,
United Stat,es Code, Sect,ion 1-951, in that, defendants did unlawfully
and knowingly take and obtain personal property of Americas Best
Value Inn and Suites consisting of United States currency and t.hree
cordless t,elephones from the presence of a victim employee, against
his will by means of actual and threatened force, violence, and
fear of injury, immediat,e and fut.ure, to his person, all in
violation of Tit.le 18, Unit,ed States Code, Sections 2 and L95t-.
                                       COITNT 2
(Using, Carrying, Possessing and Brandishing a Firearm During and
               in Relat.ion to a Crime of Violence)
      On or about October 29, 2012, in the State and District                  of
Mj-nnesota, the defendanLs,
                           ERIC WADE FORCIER, and
                                .TULIE AIVN CAMPAI{A,

each aiding and abett,ing the other, during and in relat,ion to                  a

crime of violence for which the defendants may be prosecuted in                  a

court of the United States, that is, the crime set forth in Count
1 of t.his Indictment, which is hereby realleged and incorporated
herein by reference, did knowingly and unl-awfulIy use and carry                 a

firearm, namely, a .32 caliber            FEG    pistol, serial number   BK1-82'7,

and 1n furtherance of such crime, did knowingly and unlawfully
         CASE 0:12-cr-00295-PAM-AJB Doc. 1 Filed 12/03/12 Page 3 of 4



Unit.ed States v. Eric Wade Forcier, et al.
possess and brandish said f irearm, in violation of Tit,Ie l-8, United
States Code, Sections 2 and 924(c) (1) (A) .
                                         COIINT     3
                      (Felon j-n Possession of a Firearm)
      On   or about October 29, 2012, in the State and Dist.ricL of
Minnesot.a, the def endant       ,




                                ERTC WADE FORCIER,

having previously been convicted of                           crimes punishable              by
imprisonment for a term exceeding one year, namely,

 Crime Conmitted                Place of Convict,ion              Date of Conviction
                                                                  (on or about)
 2nd degree drug                Dakota County,          MN        November     24,    2008
 possessi-on
 Possession of stolen           Dakota County,          MN        April t,     2008
 property
 5th degree drug                Dakot,a County,         MN        May 21-, 2007
 possession
 5th degree drug                Dakota County,          MN        May 21-, 2007
 possession
 Fleeing police j-n a           Dakota County,          MN        May   21,   2007
 moEor vehicle


did knowingly and unlawfully possess, in and affecting interstat.e
commerce / a f lrearm, namely, a .32 caliber FEG pist.oI, serial

number BK1-827, in violation               of Title          18, United St.ates        Code,

Sections    922 (g)   (I) and   924   (a) (2)   .




                            FORFEITURE AIJLEGATION
        CASE 0:12-cr-00295-PAM-AJB Doc. 1 Filed 12/03/12 Page 4 of 4



United States v. Eric Wade Forcier, et aI.
      If convicted of Count I, 2 or 3 of this indictment, the
defendants shall forfeit       to the United States any firearms           and

ammunition involved in or used in such violations including, but
not limited to, a .32 caliber       FEG   pistol, serial   number 8K1827 and
ammunition, pursuant to Title          18, United States Code, Section
924(d) (t), and Title 28, United States Code, Sectj-on 240f (c)        .




                                A   TRUE BILL



UNITED STATES ATTORNEY                       FOREPERSON
